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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

 STATE OF MISSOURI, et al.,
                       Plaintiffs,
               v.                                             No. 4:21-cv-01300-DDN
 JOSEPH R. BIDEN, et al.
                       Defendants.

           UNOPPOSED MOTION TO STAY DISTRICT COURT PROCEEDINGS
                             PENDING APPEAL

       Defendants submit this unopposed request that this Court stay further proceedings in this

matter pending final resolution of Defendants’ appeal from the Court’s Opinion and Order grant-

ing Plaintiffs’ motion for a preliminary injunction, Doc. 36. As counsel for Plaintiffs indicated

during the status conference on January 7, 2022, Plaintiffs do not oppose this request. 1

       On December 20, 2021, the Court granted Plaintiffs’ motion for a preliminary injunction

and issued an order enjoining the Federal Government “from enforcing the vaccine mandate for

federal contractors and subcontractors in all covered contracts in Missouri, Nebraska, Alaska,

Arkansas, Iowa, Montana, New Hampshire, North Dakota, South Dakota, and Wyoming.” Doc.

36. Defendants noticed their appeal of the Court’s Opinion and Order on January 14, 2022. See

Doc. 43. The parties are currently obligated to submit a Joint Proposed Scheduling Plan by Janu-

ary 14, 2022. Doc. 40.

       Defendants respectfully suggest that a stay of proceedings pending the final resolution of

Defendants’ appeal will both promote judicial economy and preserve the resources of the parties




       1  Counsel for Defendants also spoke separately with Plaintiffs’ counsel, who confirmed
that Plaintiffs do not oppose a stay of district court proceedings pending appeal.
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and this Court. See Landis v. N. Am. Co., 299 U.S. 248, 254 (1936) (A district court’s “power to

stay proceedings is incidental to the power inherent in every court to control the disposition of

the causes on its docket with economy of time and effort for itself, for counsel, and for liti-

gants.”). Defendants’ appeal implicates important legal issues that the parties and the Court will

likely have to address in future proceedings, including the scope of the President’s authority un-

der the Federal Property and Administrative Services Act. See Doc. 36, at 6. An appellate deci-

sion on that issue (and others) will thus likely provide the Court and the parties significant aid in

the ultimate resolution of this case. Furthermore, this proposed stay is of a limited and definite

duration that will not cause undue delay in the resolution of this case.

       Accordingly, Defendants respectfully request that the Court grant this unopposed motion

and stay further district court proceedings in this matter until the parties have exhausted appellate

proceedings.



DATED: January 14, 2022                        Respectfully submitted,

                                               BRIAN M. BOYNTON
                                               Acting Assistant Attorney General

                                               BRAD P. ROSENBERG
                                               Assistant Director

                                               /s/ Zachary A. Avallone
                                               VINITA ANDRAPALLIYAL
                                               ZACHARY A. AVALLONE
                                               Trial Attorneys
                                               U.S. Department of Justice
                                               Civil Division, Federal Programs Branch
                                               1100 L Street NW
                                               Washington, D.C. 20005
                                               (202) 514-2705
                                               Zachary.a.avallone@usdoj.gov

                                               Counsel for Defendants



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